Case 1:10-cr-00317-REB Document 735-22 Filed 01/17/14 USDC Colorado Page 1 of 3

NOTICE OF AND RESCISSION OF NOTICE TO THE ARTICLE III COURT TAKING
‘EXCEPTION TO MAGISTRATE JUDGE MICHAEL E. HEGARTY'S MINUTE ORDER
NO. 99 DENYING WITHOUT PREJUDICE INTERESTED PARTY RICHARD KELLOGG
ARMSTRONG'S NOTICE TO THE ARTICLE III COURT FOR REQUEST FOR COURT
APPOINTED CO-COUNSEL AND FOR AUTHORIZATION FOR COURT PAID
EXPERT WITNESS FOR CAUSE
NOTICE DATE: Day Fourteen Month One Year 2014 C.E.

Clerk of the Court

United States District Court
901 19th Street, Room A-105
Denver, Colorado 80294-3589

In reply to: "Case 1:10-cr-00317-REB Document 242 Filed 06/01/11 USDC Colorado Page 1 of

2 May 26, 2011 Case No. 10-cv-01073-MEH Case No. 10-cr-00317-REB NOTICE TO THE ARTICLE 111
COURT TAKING EXCEPTION TO MAGISTRATE JUDGE MICHAEL E. HEGARTY'S MINUTE ORDER NO. 99 DENYING
WITHOUT PREJUDICE INTERESTED PARTY RICHARD KELLOGG ARMSTRONG'S NOTICE TO THE ARTICLE 111
COURT FOR REQUEST FOR COURT APPOINTED CO-COUNSEL AND FOR AUTHORIZATION FOR COURT PAID
EXPERT WITNESS, Richard Kellogg Armstrong, Page 2 of 2"

PLEASE TAKE NOTICE that I, Richard Kellogg Armstrong, sentient moral being rescind my
signature Richard Kellogg Armstrong and the original "supra" including every copy bearing
my signature and date, for cause. I made a mistake creating, signing and presenting the
NOTICE TO THE ARTICLE III COURT TAKING EXCEPTION TO MAGISTRATE JUDGE MICHAEL E. HEGARTY 'S
MINUTE ORDER NO. 99 DENYING WITHOUT PREJUDICE INTERESTED PARTY RICHARD KELLOGG ARMSTRONG'S
NOTICE TO THE ARTICLE III COURT FOR REQUEST FOR COURT APPOINTED CO-COUNSEL AND FOR
AUTHORIZATION FOR COURT PAID EXPERT WITNESS. I repent of my sin.

I willingly, knowingly, voluntarily, intentionally and intelligently perform this act
and deed.

luyy son, if you become surety for your friend, if you have shaken hands in a pledge for a stranger", 2"You
are snared by the words of your mouth; you are taken by the words of your mouth." 3"So do this, my son, and
geliver yourself; for you have come into the hand of your friend; go humble yourself; plead with your friend."
"Give no sleep to your eyes, nor slumber to your eyelids." -"Deliver yourself like a gazelle from the hand of
the hunter, and like a bird from the hand of the fowler."

I RESERVE ALL OF MY RIGHTS WITH EXPLICIT RESERVATION AND WITHOUT PREJUDICE.

D Sincerely
FILE KE AZZ C7 ~
T LE e BY tefl UE
UNITED STATES ISTRICT COUR lech ee pe
c/o 20413-298 ,
JAN 1 7 2014 Federal Correctional
Institution - Lompoc

JEFFREY P. COLWEL' 3600 Guard Road

RK Lompoc, California

 

 

Page 1 of 2
Case 1:10-cr-00317-REB Document 735-22 Filed 01/17/14 USDC Colorado Page 2 of 3

Case 1:10-cr-00317-REB Document 242 Filed 06/01/11 USDC Colorado Page 1 of 2

TRULINCS 20413298 - ARMSTRONG, RICHARD KELLOGG - Unit: ENG-J-A

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MET ;

FROM: 20413298 ZU pet oy nn.

TO: Armstrong, Sharon Ju Pry 2: §3

SUBJECT: Court appointed co-counsel 5/26 GREc: .

DATE: 5/26/2011 3:56:41 PM cur SAR

May 26, 2011 By

  

DISTRICT CO@RT OF THE UNITED STATES
Case No. 10-cv-01073-MEH

 

 

RICHAR NG Case No. 10-cr-00317-REB
Richard Kell rong, 20413-298
FDC Englewoo Quincy Ave Cy
Littleton, CO XY
SS
NOTICE TO TH E II COURT TAKING EXCEPTION TO MAGISTRAKE JUDGE MICHAEL E. HEGARTY'S
DENYING WITH EJUDICE INTERESTED PARTY RICHARD KE; G ARMSTRONG'S NOTICE TO THE A\

 
 

 

 

 

 

REQUEST THAT THE COURT RECOGNIZE
Haines v4 er 404 U.S. 519, 30 L. Ed 652, 92S. Ct. 594,R n U.S. 948, 30 L. Ed 2d 819, 925. 3

Kellogg Armstrong, pro se, the Accused, d nt in Case No. 10-cv-01073-MEH afkd 10- -00317-REB,
taking excepti to Magistrate Judge Michael E. Hegarty’s denial ofa urt appointed co-counsel in defense ef Case No. 10-cv-

Civil Case No. 01073-MEH is specifically separate from t inal Case No. 10-cr-00317-REB and earing on a court
action Janua relating to the Accused Proceeding pro s@ahd the subsequent court appointment Sista&ce of counsel.
It should benote the initial court appointed counsel for Cade*No’ 10-cr-00317-REB, Richard Kornfeld, Who withtrew in
January, 201? ™Was separately appointed by the court to represent fendant in the civil Case No. 10-cv-01073-MEH directly
indicating that the court recognized the civil case as being separate\from\the criminal Case. Since my incarc@ratig@m, | have had no
income or furfs to for my defense as the IRS frauduently clean ; our bank account.

  

urt must recognize that the Accused is entitled t ourt appointed representation under the com ion laws and
t of the Constitution of the united States 1787 ad is hereby required to appoint a co-couNgel as requested

Because of re of the lawfully questionable charges brough
Flynn, that | dee be fraudulent and without any authority, it is ae
Witness be authorized for payment by the Court for Richard Ke A
requested and CX er court paid authorization for an sco

   

services to dat® as¥he is not qualified to investigate the unusual nat
Ms. Victoria OsHorn, Certified Forensic Examiner, and determined that
court appointeggco-counsel in this matter as well as the criminal case.

In summary tHe Accused requests the appointment of a QUALIFIED co-counsel as well as authorization for tee named
Expert Witness vathbut delay as time is of the essence.
s

This document is not intended to threaten, harrass or intimidate but is my legal remedy in law.

 
 
    

Richard Kellogg A
Executor of the Estate
CC:Tenth Circuit Court of Appeals

Administrative Office of the U. S. Courts
Case 1:10-cr-00317-REB Document 735-22 Filed 01/17/14 USDC Colorado Page 3 of 3

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Hrado Page 2 of 2

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NITED STATES DISTRICT COURT FO) VOTH soz hom, A ~yo .-
DENVER, COLORADO K Te, Lo a2 JOG

JUN 01 2011

GREGORY C. LANGHAM
CLERK

. DENVER CO Boo

USRE Cc

 

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Case 1:10-cr-00317-REB Document 242 Filed 06/01/11

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